Case 9:20-cv-81689-RAR Document 8 Entered on FLSD Docket 02/16/2021 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 20-CV-81689-RAR

 UNITED STATES EQUAL EMPLOYMENT
 OPPORTUNITY COMMISSION,

         Plaintiff,

 v.

 FRITO-LAY, INC.,

       Defendant.
 ________________________________________/

                           ORDER APPROVING AND ENTERING
                         CONSENT DECREE AND DISMISSING CASE

         THIS CAUSE comes before the Court upon the Parties’ Joint Motion for Approval and

 Entry of Consent Decree (“Joint Motion”) [ECF No. 7], filed on February 4, 2021.       The Court

 having carefully considered the Joint Motion and the Consent Decree [ECF No. 7-1], and being

 otherwise fully advised, it is

         ORDERED AND ADJUDGED as follows:

         1. The Joint Motion [ECF No. 7] is hereby GRANTED.

         2. The Consent Decree [ECF No. 7-1] is APPROVED and ENTERED.

         3. This case is DISMISSED.

         4. The Court shall retain jurisdiction to enforce the Consent Decree.

         5. Each party shall bear its own attorney’s fees and costs pursuant to the Consent Decree.

         DONE AND ORDERED in Ft. Lauderdale, Florida, this 16th day of February, 2021.


                                                        _________________________________
                                                        RODOLFO A. RUIZ II
                                                        UNITED STATES DISTRICT JUDGE
 cc: counsel of record
